     Case 8:21-bk-10635-ES      Doc 762 Filed 08/02/22 Entered 08/02/22 09:21:08       Desc
                                 Main Document     Page 1 of 7



 1   Alicia Marie Richards
 2   351 Catalina Drive
     Newport Beach, CA 92663
 3   (949)813-6138
     Richardsalicia007@gmail.com
 4

 5   Debtor in pro se
 6

 7

 8
 9                              UNITED STATES BANKRUPTCY COURT

10                      CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

11

12   IN RE:                                    )   CHAPTER 7
                                               )
13   ALICIA MARIE RICHARDS,                    )   Case No. 8:21-bk-10635
                                               )
14                                             )   REPLY TO TRUSTEE'S OMNIBUS
                                               )   OPPOSITION TO DEBTOR’S REQUEST TO
15                               Debtor.       )   CONTINUE HEARING ON MARSHACK
                                               )   HAYS FIRM'S AND RICHARD HESTON'S
16                                             )   ATTORNEY FEE AND COSTS MOTIONS
                                               )
17                                             )
                                               )   Hearing Date: August 18, 2022
18                                             )   Time: 10:30 p.m.
                                               )   Place: Courtroom 5A, 411 W. Fourth Street
19                                             )
                                               )
20                                             )                   Santa Ana, CA 92701
                                               )                   Via ZoomGov
21                                             )
                                               )
22                                             )
                                               )
23                                             )
                                               )
24                                             )
25

26   ///

27   ///

28   ///
                                               1
     Case 8:21-bk-10635-ES          Doc 762 Filed 08/02/22 Entered 08/02/22 09:21:08                    Desc
                                     Main Document     Page 2 of 7



     TO RICHARD A. MARSHACK, CHAPTER 7 TRUSTEE, UNITED BANKRUPTCY JUDGE,
 1

 2   UNITED STATES TRUSTEE, AND TO ALL INTERESTED PARTIES:

 3           Alicia Marie Richards (“Debtor”) files this Reply to Richard A. Marshack, Chapter 7 Trustee

 4   (“Trustee”)’s Opposition to Debtor’s requests to continue the hearings on the first interim fee
 5   applications filed by Marshack Hays LLP (“Firm”) and Heston & Heston (“Heston”) on July 31, 2022
 6
     and August 1, 2022 respectively.
 7
             I.      SUMMARY OF REPLY
 8
         Debtor seeks to continue the fee motions to give her adequate time to respond to them in addition to
 9

10   filing her adversary proceeding which is directly related to the fee motions and a motion to consolidate

11   to save judicial resources. Heston’s lack of notice together with the both motions being voluminous

12   filings should be enough to continue the hearing to provide Debtor adequate time to prepare her
13
     defense. Debtor is out of town from August 3, 2022 to August 8, 2022; August 9 to August 25, Debtor
14
     has other deadlines including defending against a motion for judgment on the pleadings, two separate
15
     adversary proceedings, and appeals.
16
       Debtor’s goal in this matter is to be provided a full, fair hearing on the merits of her cross-claims
17

18   against both the fee motions. Heston’s motion did not provide the statutory 21 days notice because it

19   was not served on Debtor until August 1, 2022 and that in itself is good cause for a continuance.
20   Debtor is also requesting additional time to prepare her defense because the two motions require an
21
     in depth review of the record in this case and Debtor’s view of the proceedings are different than the
22
     Trustee’s view whose one goal from the beginning has been to attack the equity for his and his agents
23
     benefit which is evident by their $500,000 in fees. They failed to provide evidence that they even had
24

25   jurisdiction over the property to sell it in the first place which is a threshold issue that has still not been

26   resolved because the property was protected by contract and never transferred over to the bankruptcy

27   estate after the two structural errors that occurred on January 26, 2018 in the family law court and then
28   the jurisdictional defect in this court that occurred on November 4, 2021.
                                                        2
     Case 8:21-bk-10635-ES         Doc 762 Filed 08/02/22 Entered 08/02/22 09:21:08                  Desc
                                    Main Document     Page 3 of 7



      Trustee’s argument that Debtor seeks only to delay the matter so that that the case would be
 1

 2   reassigned is without merit, even if Judge Smith were to proceed in this matter on August 18, 2022

 3   depriving Debtor of adequate time to prepare a defense and deprived of statutory notice, the newly

 4   assigned judge is going to be reviewing any fee award because interim awards are interlocutory and
 5   often require future adjustments and are “always subject to the court’s reexamination and adjustment
 6
     during the course of the case. . .” 2 Collier on Bankruptcy ¶ 331.03 (15th ed.)(emphasis added); See also
 7
     In re Stable Mews Assoc., 778 F. 2d 121, 123 n. 3 (2d Cir. 1985) (“Interim awards are, by definition,
 8
     not final.”); See also In re Callister, 673 F. 2d 305, 307 (10th Cir. 1982) (“Interim awards . . . are no
 9

10   respect final adjudications on the question of compensation. Such awards are therefore interlocutory.”

11   Trustee and Heston fees are subject to adjustment and fully reviewable later. See also In re Taxman

12   Clothing Co., 49 F. 3d 310, 314 (7th Cir. 1995) “all awards of interim compensation are tentative, hence
13
     reviewable – and revisable—at the end of the case.” Therefore, there is no prejudice to the Trustee and
14
     Heston to continue their motions out to September 15, 2022 to give Debtor and any other interested
15
     parties adequate time to prepare their defense to the outrageous fee motions for over $500,000 against
16
     one piece of property that he lacked jurisdiction to sell.
17

18          Lack of statutory notice by Heston in addition to requiring additional time to prepare a defense

19   to the two motions are good cause to grant a continuance and Debtor would not request a continuance if
20   she did not require it. Debtor requests the court grant her request and continue the motion to September
21
     15, 2022 so that her objection, opposition, and cross-claims to the fee applications which will include
22
     state law causes of action will be due on September 1, 2022 and debtor does not consent to the
23
     bankruptcy court making any final orders in this matter on non-core issues.
24

25          II.     STATEMENT OF FACTS

26          Debtor disputes and objects to Trustee’s statement of facts and his argument is irrelevant and

27   meritless to Debtor’s request for continuance because her motion is based on lack of statutory notice and
28   and not being given adequate time to prepare a defense which are both good causes for a continuance.
                                                       3
     Case 8:21-bk-10635-ES        Doc 762 Filed 08/02/22 Entered 08/02/22 09:21:08                 Desc
                                   Main Document     Page 4 of 7



             III.    OTHER BASELESS ARGUMENT BY THE TRUSTEE
 1

 2           Debtor objects to the Trustee’s other baseless arguments that are not even relevant to this good

 3   faith request for continuance. Debtor was not timely served with Heston’s fee request depriving her of

 4   adequate statutory notice and Debtor requires additional time to present a defense with her cross-claims
 5   against the Trustee and his agents motions. Trustee and his agents are the only ones who have initiated
 6
     frivolous litigation. For example just a few frivolous filings by the Trustee to churn the estate: Trustee
 7
     sued Debtor’s minor daughter and knew she was a minor, he sued Debtor’s deceased brother and knew
 8
     he was deceased, and he refuses to dismiss Debtor in a lawsuit in which he states Debtor is not the
 9

10   proper party and continues to file nonstop motions as evidenced in his request for over $500,000 in

11   fees including his meritless opposition to Debtor requests for a continuance based on lack of statutory

12   notice and request for additional time to defend because Debtor has cross-claims and the fee
13
     motions require a deep look at the record.
14
             WHEREFORE, for the foregoing reasons, Debtor request this court to continue the Trustee’s
15
     motion to September 15, 2022 to give her adequate notice and time to prepare her defense, file her
16
     adversary proceeding with her cross-claims, file her motion to consolidate the Trustee’s motion with
17

18   the adversary proceeding and they can be heard together because the Trustee refuses to stipulate to

19   anything except a briefing schedule that benefits him and his agents. A continuance would best serve
20   the interest of justice.
21                                                              Respectfully submitted,
22
             Dated: August 7, 2022                                By_______________________________
23                                                                Alicia Marie Richards
                                                                  In Pro Se
24

25

26
27

28

                                                      4
     Case 8:21-bk-10635-ES        Doc 762 Filed 08/02/22 Entered 08/02/22 09:21:08                Desc
                                   Main Document     Page 5 of 7



                               DECLARATION OF ALICIA MARIE RICHARDS
 1

 2   I, Alicia Marie Richards declare that:

 3   1. If called as a witness I could and would competently testify to the following facts of my own

 4   personal knowledge.
 5   I have read my reply to Trustee’s opposition and I declare under penalty of perjury under the laws of
 6
     the United States of America that the foregoing is true and correct. Executed this 2 day of August,
 7
     2022.
 8
 9                                                       _____________________________
10                                                       ALICIA MARIE RICHARDS

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

                                                     5
        Case 8:21-bk-10635-ES                     Doc 762 Filed 08/02/22 Entered 08/02/22 09:21:08                                      Desc
                                                   Main Document     Page 6 of 7



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2569 ORANGE AVE., C.M. CA 92627

                                                                       Reply to Omibus Opposition to Debtor's
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 Good Faith Request for Continuance
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 8/2/2022
_______________,    I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
Richards Heston, Attorney for Trustee, rheston@hestonlaw.com
D. Edward Hays, ehays@marshackhays.com
Tinho Mang, tmang@marshackhays.com




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                   6                       F 9013-3.1.PROOF.SERVICE
        Case 8:21-bk-10635-ES                     Doc 762 Filed 08/02/22 Entered 08/02/22 09:21:08                                      Desc
                                                   Main Document     Page 7 of 7




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

8/2/2022                     Laura Archer
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                   7                       F 9013-3.1.PROOF.SERVICE
